
By the Court:
1. The defendant in error is not, upon the facts stated, entitled to judgment for more than the proceeds of the sale of the real estate since the liability of the sureties was, by the terms of the bond, limited to that.
2. She was entitled to the judgment rendered by the circuit court in her favor, because the proceeds of the sale of the real estate came into the hands of the guardian, and they were not by him accounted for. Although he had accounted for moneys in excess of her share of such proceeds, that could not, in a suit by her upon the additional bond, be presumed to have been, in whole or in *384part, on account' of such, proceeds. The case presents no question as to the rights of these sureties against those of the guardian upon his original bond.

Judgment affirmed.

